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Vaughn A. Wamsley
Attomey A£ Law

851 South Rangeline Road
Carmel, IN 46032

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(31 79 846-1080
(31 79 581-1234 (fax)
November 2, 2018
CERTIFIED MAIL
O.B. Williams

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4018 N. Bolton Ave
Indianapclis, IN 46226

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Dear Mr. Williams:
NO'I`ICE OF ATTORNEY’S INTENTION TO VVI'I`I~IDRAW

Re: O.B. Willz'ams v. Gamma Meccanica, Gamma Meccanica North Amerz'ca
lnnovarive Recycling Solutions, LLC‘, United States Dz'strz'ct Court Soulhern
Dism'ct ofIndiana ludianapolis Diw`sion,‘ Civil Act:`on No. 1 .'IS-cv-OZSOS-JMS-

TAB

Dea.r Mr. Williams:

Please be advised that this office will be filing a Motion to Withdraw as your attorneys in
the above captioned matter. Pursuant to United. States Distn`ct Court for the Southern District of
Indiana, Local Rule 83-7, l must provide you with seven (7) days written notice of my intentions to
withdraw as your attomey. Please be advised that I will file my Motion seeking permission from
the Court to Withdraw as your attorney on November 14, 2018. This will leave you time to secure
new counsel if you choose to do so. Your file will be made available to you or forwarded to your

new attorney, if you so desire.

In addition, I must inform you that: failure to secure new counsel may result in dismissal
of your case or entry of a judgment or ruling against you.

Please be advised that the attorney representing the defendant is as follows:

Rebecca J. Mass
Smith Fisher Maas Howard & Lloyd, P.C.

7209 North Shadeland Ave.
Indianapolis, IN 46250
Telephone: 317-578-1900
Facsimile: 3 l 7-578- 1330

Email: nnaas@smithtisher.com

Co-counsel for Defendants

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John M. Socolow

Fitzpatriok & Hunt Pagano Aubert, LLP
50 Main Street

White Plains, NY 10606

Telephone: 914-946~0600

Facsimile: 914-946~0650

Ernail: ]`ohn,socolow@fitzhunt.com

Co-eounsel for Defendants

The Indiana Bar Association number is 317-269-2222 should you need a referral If
you should have any questions, please feel free to contact our office

Sincerely,

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Vaughn A. Wamsley/" '
Attomey at Law

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Track Another Package +

Remove X

Tracking Number: 70151730000156022415

Your package is moving vvithin the USPS network and is on track to be
delivered to its final destination lt is currently in transit to the next facility.

ln-Transit

December 10, 2018
|n Transit to Next Faci|ity

Get Updates \/

)¢]OECI DBS:|

 

Text & Emai| Updates

 

Tracking History

December iO, 2018
|n Transit to Next Faci|ity
Your package is moving vvithin the USPS network and is on track to be delivered

to its final destination lt is currently in transit to the next facility.

December 8, 2018, 11:55 pm
Departed USPS Fiegional Facility
|ND|ANAPOL|S IN D|STR|BUT|ON CENTER

November 21, 2018, 4:13 pm
Unclaimed/Being Returned to Sender

12/11/2018, 8.'55 Al\/l

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|ND|ANAPOL|S, lN 46226

November 8, 2018, 9:35 arn
Out for Delivery
|NDIANAPOL|S, |N 46226

Novemloer 8, 2018, 9:25 am
Sorting Cornplete
lNDlANAPOL|S, |N 46226

November 7, 2018, 9:44 am
Arrived at Unit
|ND|ANAPOL|S, lN 46226

November 6, 2018, 12:01 am
Arrived at USPS Regional Facility
!NDIANAPOLIS lN D|STRIBUT|ON CENTER

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FAQS (https://www.usps.com/faqs/uspstracking-faqs.htm)

lZ/ll/ZOIS, 8:55 AM

